        Case 1-17-46613-nhl             Doc 43      Filed 03/09/18        Entered 03/09/18 17:30:33




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                              Chapter 11

 BR.ACHA CAB CORP., et al.,                                          Case No. 1-17-46613(NHL)

                                                                     Jointly Administered
                            Debtors.                             X


                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  }
                   } ss:
COUNTY OF NEW YORK }

        I, John C. Murphy, being duly sworn, deposes and says:

        That I am over eighteen years of age, am employed by Troutman Sanders LLP,and am not
a party to this action.

       On the 9th day of March 2018, I served the Motion of Capital One Equipment Finance
Corp. to Vacate the Automatic Stay or, in the Alternative, Dismiss or Convert the Debtors' Cases
or Appoint a Chapter I1 Trustee and all supporting documents thereto [ECF. Nos. 23- 26](the
"Motion") on each debtor in the above-captioned case by mailing a true and correct copy of the
Motion via first class mail to the addresses set forth in each ofthe debtors' chapter 11 petitions as
follows:
Bracha Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Dovber Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Tamar Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213




                                                          1
      Case 1-17-46613-nhl   Doc 43   Filed 03/09/18   Entered 03/09/18 17:30:33




NY Genesis Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Dabri Trans Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Merab Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Fit Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Jarub Trans Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Somyash Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

NY Tint Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

NY Stance Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213




                                        2
      Case 1-17-46613-nhl               Doc 43   Filed 03/09/18     Entered 03/09/18 17:30:33




NY Canteen Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

NY Energy Taxi Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Jackhel Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213

Lechaim Cab Corp.
Attn: Esma Elberg
1281 Carroll Street
Brooklyn, NY 11213




                                                                   C
                                                                  John C.   rphy

Sworn to before me this
9th day of March 201 ~




       ICI

                    CAROL J. PIN70
             Notary Public, State of New York
                 No. 01 P14725252
           Qualified in New York County
      Commission Facpires September 30,20




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